     Case:Case 2:99-cv-20593-HB
           17-1625              Document 5355 Page:
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                                                          Date Filed: 1 of 2




                        UNITED STATES COURT OF APPEALS
                             FOR THE THIRD CIRCUIT
                                  ____________

                                       No. 17-1625
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 IN RE: DIET DRUGS (PHENTERMINE/FENFLURAMINE/DEXFENFLURAMINE)
                      PRODUCTS LIABILITY LITIGATION

                                  NORMA SCHLAGER,
                                               Appellant


                    On Appeal from the United States District Court
                         for the Eastern District of Pennsylvania
             (D.C. Nos. 2-99-cv-20593, 2-11-md-01203 and 2-15-md-01203)
                      District Judge: Honorable Harvey Bartle, III


                       Submitted under Third Circuit LAR 34.1 (a)
                                  on January 12, 2018

       Before: JORDAN and ROTH, Circuit Judges and MARIANI*, District Judge



                                       JUDGMENT


        This case came on to be heard on the record before the United States District

Court for the Eastern District of Pennsylvania and was submitted under Third Circuit

LAR 34.1(a) on January 12, 2018.

        Upon consideration whereof,


 *
  Honorable Robert D. Mariani, United States District Judge for the Middle District of
Pennsylvania, sitting by designation.
    Case:Case 2:99-cv-20593-HB
          17-1625              Document 5355 Page:
                    Document: 003113175238    Filed 203/04/19  Page 03/04/2019
                                                         Date Filed: 2 of 2




        IT IS ORDERED AND ADJUDGED by this Court that the orders of the District

Court entered March 9, 2017, and January 27, 2016, be and the same are hereby affirmed.

        All of the above in accordance with the Opinion of this Court.

                                                        ATTEST:


                                                        s/ Patricia S. Dodszuweit
                                                        Clerk
Dated: February 8, 2019




 Certified as a true copy and issued in lieu
 of a formal mandate on March 4, 2019


Teste:
Clerk, U.S. Court of Appeals for the Third Circuit




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